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 8
     Attorneys for Plaintiff
 9

10                      IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF ARIZONA
11

12   In re:                                        Chapter 11 Case

13   AE SOLUTIONS LLC,                             No. 2:22-bk-01806-PS
     an Arizona limited liability company,
14

15                     Debtor.

16   BILLD EXCHANGE LLC,
     a Delaware limited liability company,         Adversary No. 2:22-ap-00090-PS
17
                               Plaintiff,          (Maricopa County Superior Court Case
18
                                                   No. CV2022-003221)
19        v.

20   AE SOLUTIONS LLC, an Arizona limited          NOTICE OF HEARING ON
     liability company; and WILLIAM CLIFTON        MOTION TO REMAND AND – IN
21   and JANE DOE CLIFTON, husband and wife,       THE ALTERNATIVE – MOTION
22                                                 TO ABSTAIN
                        Defendants.
23                                                 August 2, 2022, at 1:30 p.m.
                                                   (telephonic)
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 1           The Plaintiff, BILLD EXCHANGE LLC, has filed Motion to Remand and – in the
 2   Alternative – Motion to Abstain [Adversary Docket No. 8] (“Motion”).

 3           NOTICE IS HEREBY GIVEN THAT a hearing on the Motion shall occur by

 4   telephone on August 2, 2022, at 1:30 p.m. (or as soon thereafter as the parties can be heard),
     before the Honorable Paul Sala, United States Bankruptcy Judge, Courtroom 601, 6th Floor,
 5
     United States Courthouse and Federal Building, 230 North First Avenue, Phoenix, Arizona.
 6
             PARTIES ARE TO CALL: 877-402-9757, to appear for the hearing. The access code
 7
     is 4376956.
 8
             NOTICE IS FURTHER GIVEN THAT any responses to the Motion shall be filed and
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     served in accordance with Rule 9013-1(c) of the Local Rules of Bankruptcy Procedure for the
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     District of Arizona, with all responses and objections to the Motion to be filed and served no
11   later than June 24, 2022.
12           Dated: June 7, 2022.
13
                                              DICKINSON WRIGHT PLLC
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                                                    WN/4239
16                                            William L. Novotny
                                              1850 North Central Avenue, Suite 1400
17                                            Phoenix, Arizona 85004
                                              Attorneys for Plaintiff
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     4891-0056-8612 v1 [100980-1]
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